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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION




CATINA PARKER, as Personal Representative
Of the Estate of Leonard Parker, Jr., Deceased

Plaintiffs,

v.                                                            Case No. :21-cv-00217-HSO-BWR



The CITY OF GULFPORT, a municipal
corporation; JASON CUEVAS, in his individual
and official capacity; and JOHN DOE OFFICERS
#1-5 in their official and individual capacities


Defendants.
__________________________________
                     REPORT OF Jeronimo “Jerry” Rodriguez

     1. My name is Jeronimo “Jerry” Rodriguez. I have been actively involved in police

        practices and law enforcement duties since 1986. I was an active police officer for 35

        years and recently retired from active duty.

     2. Since my retirement in 2021 as a law enforcement officer, I have been involved in police

        and law enforcement practices as a private police consultant. Since 2018, I have provided

        law enforcement training and management insight for various agencies throughout the

        United States. I have provided law enforcement training in the following areas:

                               •   Investigation of critical incidents – officer-involved shootings,
                                   use of force.
                               •   Managing the Internal Affairs function.
                               •   Police discipline.
                               •   Use of force and deadly force issues.
                               •   Investigative procedures and supervision.
                               •   Policy and procedure development.
                               •   Police In-Custody Death Investigations.




                                                 1
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 3. While an active law enforcement officer, executive staff officer, and chief, I have been

    consulted by cities and policing organizations on both the east and west coasts of the United

    States on matters involving police uses of force, lethal and nonlethal force, in-custody death

    investigations, police misconduct investigations, and their adjudications.

 4. Since 1996, I have been directly involved in investigating, overseeing, and adjudicating

    several hundred police-involved uses of force, both lethal and non-lethal uses of force,

    and in-custody death investigations. I have also taken part in and been the architect of

    new use-of-force investigative policies and procedures that incorporate generally

    accepted police investigative practices for police agencies, specifically the Los Angeles

    Police Department, the Baltimore Police Department, and the San Francisco District

    Attorney’s Office, Bureau of Independent Investigations. I also updated and, in some

    cases, drafted entirely new policies and procedures for agencies such as the Los Angeles

    Police Department, the Baltimore Police Department, and the San Francisco District

    Attorney Investigators regarding officer-involved use of force investigations.

                                       Police Training

 5. I am a former Police Captain of the Los Angeles Police Department. I served as a police

    officer in the Los Angeles Police Department for over twenty-six years until I retired in

    2013. During that period, I served as a patrol officer, field training officer, vice undercover

    investigator, use of force staff researcher, field supervisor, lieutenant, and patrol captain. I

    have also been involved in police training on subjects such as: investigating allegations of

    police misconduct, officer-involved uses of force, death investigations, and adjudicating



                                               2
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    police administrative incidents. I helped investigate the Rampart corruption allegations as

    part of an investigative task force following a highly publicized arrest of active-duty police

    officers following allegations of drug trafficking, murder, bank robbery, and planting

    evidence. I also worked in the Office of the Inspector General, where I was tasked with

    auditing, monitoring, and reviewing the Los Angeles Police Department’s use of force and

    the disciplinary system’s investigative and adjudicative practices. I also helped investigate

    the MacArthur Park “May-Day” incident stemming from a crowd control incident that

    resulted in a significant police use of force that had Los Angeles Police Officers using force

    on demonstrators and news media filming the incident within the MacArthur Park area of

    Los Angeles. This investigation resulted in the forced retirement of a deputy police chief

    and the reassigning of a police commander, police captains, and several officers within the

    agency. It also resulted in a sweeping reform in how the Los Angeles Police Department

    managed and conducted crowd control efforts during public demonstrations. I was also the

    Chair of the Baltimore Police Department’s Use of Force Review Board, responsible for

    reviewing all major police use of force and in-custody deaths.

 6. My experience, training, and background are more fully described in the attached

    curriculum vitae (Addendum 1).

 7. I have reviewed the following materials to date regarding this case:

                1. Defendant Cuevas Interrogatories
                2. Plaintiff’s Response to Defendant Jason Cuevas’ first set of interrogatories
                3. Department of Public Safety Mississippi Highway Patrol Bureau of
                   Investigation Report (PL Parker 000001- 000269
                4. Second Amended Complaint, Case 1:21-cv-00217-HSO-RHWR Document
                   30 Filed 03/15/22 Page 1 of 11
                5. Biloxi PD Call Sheet Incode 20002246
                6. Biloxi PD Case Management Incode 20002246
                7. Biloxi PD Incident Report Flex 20002246


                                              3
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            8. Biloxi PD Incident Report Flex 20002246
            9. Biloxi PD Property Room Report 20002246
            10. Deft Jason Cuevas’ Answers to Plttf’s Interrogatories re Qualified
                Immunity – 2-3-23 42300
            11. Filed – Plaintiff’s Second “Amended” Complaint at law -62770
            12. Final Parker ROG Responses Cuevas
            13. Mississippi Forensics Lab Responses to Defendant’s Subpoena 4-25-23
                42932
            14. PL Parker 000001-000269
            15. PL Parker 000496-714
            16. PL Parker 000270-375-43003
            17. MBI – Case File Report
            18. Biloxi Police Department’s Response to Defendant’s Subpoenas 4-6-23-
                42789
            19. RMS photos
            20. Crash Data Retrieval
            21. Crime Scene Sketch
            22. Digital Case file
            23. Evidence Log Young
            24. Evidence Log
            25. PADtrax Evidence Log
            26. Photo Log Newell
            27. Photo Log Teates
            28. Preservation Letter Response
            29. Preservation Request
            30. Search Warrant and return Allen
            31. Subpoena
            32. Markray Deposition Certified Report
            33. Markray Deposition Full Report
            34. Markray Deposition photographs 5-22-23(Parker) exhibit 1 – 12 pdf
            35. Officer Cuevas’ deposition report rough draft
            36. Officer Cuevas’ Video of Depo, 041423 1of1.mp4
            37. Michelle Desroche Audio Interview
            38. Angela Jackson’s Deposition
            39. Stephanie Baldwin Deposition
            40. Geraldine McNair Deposition
            41. Brandon Teates Deposition
            42. Maxine Owens Deposition
            43. All exhibits to depositions




                                       4
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       METHODOLOGY: APPLICATION OF INDUSTRY STANDARDS AND MY
           POLICE TRAINING, KNOWLEDGE, SKILLS, EXPERIENCE

 8. These opinions are based on the totality of my specialized knowledge in police practices.

    This experience derives from my police experience, knowledge, skills, and training. This

    expertise has been developed during my 35 years of involvement in law enforcement in

    various capacities as a practitioner and my continued experience as an investigator,

    trainer, auditor, and now consultant. This experience has provided me with extensive

    personal and specialized training, experience, and knowledge of police operations and

    generally accepted police practices. The body of knowledge that I have been exposed to

    over the years, coupled with my personal and professional experiences, along with my

    continued reviewing of police agencies, my constant training of police supervisors,

    managers, and executives, my continuous interaction with other police professionals,

    organizations, and training of personnel, contributed to the foundation for the opinions I

    am rendering in this matter.

    There is a large body of knowledge and literature about the practices and standards that

    modern, reasonably managed, and administered police agencies across the U.S. should

    follow and apply to their operations. These generally accepted practices have developed

    over time to encourage and assist police agencies in delivering police services to

    communities serviced that are professional, reasonable, effective, and legal. Many of

    these generally accepted practices have been developed from law enforcement’s critical

    analysis of field incidents and examinations of incidents reported to cause police liability,

    deficiencies, and employee misconduct. These generally accepted practices have been a

    response to reported cases of police misconduct and liability and a desire by law



                                              5
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    enforcement to create a system to ensure that police conduct remains within acceptable

    legal and constitutional bounds. I stay familiar with this body of knowledge through

    training in this requirement for reasonable and lawful police response to field incidents

    and continuous improvement.

    My examination of the factors involved in this lethal use of force incident embodies the

    fundamentals I employ in my professional examination of police uses of force. My

    opinions are provided based on my specialized skills, experience, knowledge, and

    training within the fields of law enforcement, police activity, and police administration

    and supervision.

    The terminology I use in my Expert Report is not meant to invade the court's purview or

    the final jury determination. I use these terms in my training of police supervisors,

    managers, and command officers when instructing on administrative investigations and

    civil liability. These are products of my continuous review of cases and laws that should

    guide a police agency in the use of force by its employees. These terms have become

    standard terms within law enforcement supervision, management, and risk management,

    just as the terms of probable cause, reasonable suspicion, and the prima facie elements of

    crimes have become common terminology for police field personnel and detectives.

 9. I have been similarly involved in about a hundred uses of force incidents where my

    agency and the involved city consulted me for their civil litigation defense dating back to

    early 2013. Since reaching the police manager and executive ranks, I have reviewed

    hundreds of police-involved uses of force, both lethal and non-lethal, as a police use of

    force expert to guide the agency in its investigation, findings, and ultimate adjudication

    of the cases. I also assisted in the post-incident reviews to consider updating and or


                                              6
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           changing police policy, training, and equipment to assist officers in their future handling

           of similar situations and to mitigate potential risks resulting from similar future police

           incidents.

       10. In addition to my expertise in police uses of force, specifically lethal uses of force, I have

           been involved in three officer-involved shooting incidents. While all have been off-duty

           incidents, I was the primarily involved officer in all three incidents. This is important in

           shaping my understanding of police officers involved in using force and gives me a

           unique perspective of the emotions and contributing factors involved when officers go

           through these highly emotional and stressful situations. I have participated in use-of-force

           investigations from multiple perspectives, including the involved officer, the investigator,

           administrators, and executive reviewers’ and adjudicator’s perspectives. This has allowed

           me a much more robust understanding of the entire process.

                                                        Incident

       11. On the evening of January 31, 2020, Officer Jason Cuevas (Officer Cuevas) of the

           Gulfport Police Department received a radio call of a disorderly male at a residential

           party. The address of the disorderly party was 210 25th Street, Gulfport. Upon his arrival

           near the residence, Officer Cuevas could hear a commotion but was uncertain which

           house it was coming from1. Officer Cuevas exited his vehicle, which he had parked down

           the street from the radio call location 2, and walked toward the sound of the commotion.

           Officer Cuevas stated he did not turn on his police vehicle’s overhead emergency lights

           or siren as he approached and had also turned his vehicle headlights off as he exited his


1 This is according to Officer Cuevas’ statement to investigators on February 6, 2020.
2
    Disorderly party radio call address 210 25th Street Gulfport.


                                                             7
                                                     Exhibit
                                                     Exhibit "23"
                                                              "A"
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         vehicle. As he approached on foot, Officer Cuevas searched for the address of the

         residence where the call for service had been generated. Officer Cuevas looked at the

         addresses on the mailboxes as he walked toward the radio call location. As he was

         walking, Officer Cuevas noted a black pickup truck “back out of a driveway up ahead.”

         Officer Cuevas said the pickup truck backed into a mailbox directly across the street as it

         backed out of the driveway. Officer Cuevas believed the black pickup truck was exiting

         from the residence where the radio call for service was generated. According to Officer

         Cuevas, he was walking down the middle of the road, heading towards the pickup truck,

         but then began to move towards the south side of the road.

                  Note: According to the investigative diagram, addendum 2B, the north side of the
                  road is the westbound traffic lanes and also where Officer Cuevas parked his
                  police vehicle. The eastbound travel lane is the south side of the street, where
                  Officer Cuevas stated he moved toward as he approached the pickup truck.
                  Which is the same travel lane the black pickup truck was about to travel on. In
                  short, Officer Cuevas walked onto the oncoming travel lane of traffic 3.

         According to Officer Cuevas, he had his handheld flashlight in his hand and was shining

         it at the truck, while commanding to “stop the vehicle, stop the vehicle, police, stop the

         vehicle!” Further, Officer Cuevas advised that his flashlight was in strobe mode 4.

         According to Officer Cuevas, the pickup truck continued to drive toward him. During his

         deposition statement, Officer Cuevas stated he was walking toward the pickup truck

         thinking it would “pull up next to him” (page 81 line 5). Also, in his deposition

         statement, Officer Cuevas acknowledged that the pickup truck was “going slow at the

         time” (page 81, line 12). However, Officer Cuevas stated that he later heard the engine


3
  Officer Cuevas should have known that by moving toward the south side of the street, he was essentially walking
onto the oncoming traffic lane. Which is the same lane the black pickup truck was backing into.
4
  Although not described in the report, I understand strobe mode to be a flash of intermittent light that turns on and
off.


                                                           8
                                                  Exhibit
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         pick up “vroom.” According to Officer Cuevas, that is when he began to back pedal from

         the south side of road5. Per Officer Cuevas’ statement, the truck turned toward him on the

         south side of the road, and that is when he discharged his weapon at the pickup truck6.

         According to Officer Cuevas, after the shooting, the pickup truck came to a complete stop

         “as if it were thrown into park immediately 7.” Following the shooting, Officer Cuevas

         pointed his gun toward the driver and shouted, “Let me see your hands, let me see your

         hands!” Officer Cuevas then broadcast over the police radio that shots had been fired.

         Officer Cuevas noted that the passenger in the pickup truck, later identified as Mr.

         Tremain Markray (Mr. Markray), had his hands up. However, the driver, later identified

         as Mr. Leonard Parker (Mr. Parker), did not move and appeared injured. Another officer

         arrived and assisted Officer Cuevas in removing Mr. Markray from the vehicle and

         handcuffed him. Officer Cuevas advised that he tried to help the driver, Mr. Parker, exit

         via the driver’s side door of the pickup when “his legs gave way, and Mr. Parker fell out

         of the truck and faced down almost.” At this point, Officer Cuevas broadcasted a medical

         assistance request over his police radio. Officer Cuevas then walked back to the rear of

         the pickup truck to obtain the vehicle tag number. Officer Cuevas believed Mr. Parker

         was still breathing, handcuffed him, and then rolled him onto his back. Officer Cuevas




5 According to Officer Cuevas, he parked his vehicle on the north side of the street, exited, and approached the

residence while walking in a southwest direction on the roadway.
6
  According to Officer Cuevas, he believed he heard the pickup truck pick up speed and he was thinking “This is it.”
This is in direct conflict with the witnesses’ statement who all say the pickup truck was traveling at a slow speed,
estimated to be 2 to 5 miles per hour, but had stopped prior to the shooting. There were no skid marks left by the
pickup truck on the roadway.
7
  The pickup truck was still running and in “drive” following the shooting, according to the investigation on page no.
6, “I was advised that the vehicle was still in drive but would not roll forward because the doors were open.” Officer
Cuevas and Officer Brewer reported opening the doors after the shooting.


                                                          9
                                                  Exhibit
                                                  Exhibit "23"
                                                           "A"
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         was escorted away from the shooting location shortly after Sergeant Krauss arrived. Mr.

         Parker was eventually pronounced dead as a result of his sustained gunshot wounds.

                                              Analysis of Incident

    1. Officer Cuevas received a call of a disorderly male at a residence during a party.

         According to Officer Cuevas’ statement, he was advised that a male at the party was

         disorderly. However, there was no additional information provided that would have led

         Officer Cuevas to believe anyone at the party was armed or had committed any violent

         crimes. Maxine Owens specifically advised the 911 dispatcher that no one at the party

         was armed. These types of disturbance radio calls, in my specialized training, skills,

         experience, and knowledge, sometimes escalate due to the number of potentially

         inebriated occupants in attendance. For this reason, many agencies will dispatch two

         officers to respond to these types of radio calls 8. It has been my experience that assigning

         and ensuring that two officers respond and handle these types of radio calls, more likely

         than not, can lead to a greater chance of a successful resolution. According to the

         Gulfport Police Department Call Sheet Report, Officer Brewer arrived on scene

         approximately 36 seconds after Officer Cuevas’s arrival and shortly after the shooting

         (2:55:19 vs. 2:55:55). However, rather than waiting for his partner or inquiring how far

         away Officer Brewer was from arriving, Officer Cuevas approached on foot and alone.

         This despite hearing what he described as a “commotion” coming from the believed radio

         call location. Had Officer Cuevas waited for Officer Brewer’s arrival, both officers could

         have developed a plan to approach in a coordinated manner that incorporated the contact


8 On this particular radio call, Gulfport Police Department dispatched two officers to the call (Officer Cuevas and

Officer Brewer) as per the Gulfport Police Department Call Sheet Report, pg. 2 of 19.


                                                         10
                                                  Exhibit
                                                  Exhibit "23"
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         and cover concept9. It is my professional opinion that had Officer Cuevas waited for his

         partner’s arrival, both officers could have approached as a team and in accordance with

         industry standards.

      2. Officer Cuevas did not activate his vehicle’s overhead emergency lights signaling the

         police’s arrival. Often, for these types of disorderly conduct radio calls, it has been my

         experience that it is to the police officers’ benefit to announce their arrival. I have

         experienced and benefited from the residents knowing or becoming aware of the officers’

         arrival. In my experience as a police officer, partygoers usually elect to leave or cease

         any unruly behavior that could direct the officers’ attention toward them.

      3. According to the Mississippi Highway Patrol Bureau of Investigation’s report, Officer

         Cuevas was interviewed on February 6, 2020,10. During that interview, Officer Cuevas

         stated that his “body camera and dash camera were not on during the incident” (page 7)11.

         Officer Cuevas went on to state to investigators during his February 2020 interview that

         he thought he had turned them on but that he had not12. However, during his deposition

         taken several years later, Officer Cuevas advised that he had pushed the button on a

         watch-like device on his wrist to activate the body-worn camera (Officer Cuevas’

         deposition statement page 133, lines 7-11). Officer Cuevas later stated during his

         deposition statement that he believed it was activated and recorded during the entire




9
  This is an industry standard practice when officers conduct an investigation, one officer takes the lead as the
contact officer, the partner officer will be responsible taking a guarding position.
10 This interview of Officer Cuevas was taken a few days following the shooting incident.
11
   This is a very definitive statement from Officer Cuevas compared to his later deposition statement where he
alleges that he thought it was recording.
12
   This statement more likely than not shows that Officer Cuevas knew that the incident had not been recorded on
either camera and that more likely than not it was because he did not activate the equipment.


                                                        11
                                                 Exhibit
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         incident13. National best practices call for officers to activate their in-car video and body-

         worn cameras during public contact and responses to a community member’s call for

         services. Accordingly, it is my opinion that Officer Cuevas violated industry standards by

         not activating his in-car video and body-worn cameras. I found the investigation deficient

         by not addressing or explaining Officer Cuevas’ initial claim that he did not activate these

         valuable tools, which are designed to capture officers’ actions. National best practice for

         such neglect or oversight could result in a personnel complaint against an officer for not

         following department policy. It is my opinion that, more often than not, the individuals

         who usually benefit from the lack of video footage capturing the incident would be the

         involved officer(s). Neither the department nor the community members interested in this

         incident usually benefited from this missing video evidence.

     4. According to Officer Cuevas’s statement, he exited his vehicle and was “walking down

         the middle of the road heading toward the pickup truck, but then began to move towards

         the south side of the road.” Officer Cuevas thus placed himself in the eventual path of the

         pickup truck. Officer Cuevas parked his patrol vehicle on the north side of the street and

         was initially walking in the middle of the road toward the location of the radio call

         location. However, he then began moving toward the south side of the street, Officer

         Cuevas moved toward the eastbound traffic lane, which was the path that the pickup

         truck was about to travel on. Following his deposition statement, we learned that Officer




13
   I do not understand, and I am somewhat concerned as to how and why Officer Cuevas’ statement changed so
drastically from his initial interview, taken just days after the incident. This especially when compared to what he
later said at the deposition several years later. Based on my specialized training, experience, skills, and knowledge,
it appears to me that Officer Cuevas’ statement during his deposition was, more likely than not, a self-serving
statement after recognizing that it could violate department policy to state that he did not activate the cameras.


                                                          12
                                                  Exhibit
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         Cuevas intentionally walked toward the pickup truck expecting to speak with the driver,

         much like when directing traffic (page 81, lines 11-16).

         I was concerned with Officer Cuevas’ decision after learning that Officer Cuevas

         intentionally chose to approach or walk toward the path of an approaching pickup truck

         during the hours of darkness and while on a darkened residential road. Additionally, it is

         my opinion that the investigation left some fundamental questions unanswered. For

         example, what suddenly changed, causing Officer Cuevas, who seconds earlier thought it

         was safe to approach the slow-moving on-coming pickup truck, to now think it was a

         threat? This despite all the eyewitnesses stating the vehicle was slow-moving14. During

         his deposition statement, Officer Cuevas was asked about the roadway on 25th Street at

         the radio call location and whether traffic could travel in both directions (east and west).

         Officer Cuevas replied that it was a “skinny” street, stating that while vehicles could

         travel in both directions (east and west), “you just have to be careful when you do it.

         National best practice recommends that when dealing with a moving vehicle that you

         believe is coming towards you, and the only threat is the oncoming vehicle, the officer’s

         first consideration should be to get out of the vehicle’s path. The fact that Officer Cuevas

         knew the street was narrow, made his decision to walk on the road toward the truck even

         more dangerous and tactically unsound.

         The use of lethal force at a moving vehicle is discouraged when the only threat posed is

         that of the approaching vehicle15. The reason for this is that shooting at a moving vehicle


14 None of the eyewitnesses reported hearing a change or increase in the pickup truck’s speed, most of the witnesses

recalled seeing the pickup truck stopped prior to the shooting (this according to their respective deposition
statements).
15
   This is especially true when the vehicle in question is moving slow (2-5 mph), thus giving the officer more
reactionary time.


                                                         13
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         is rarely effective at stopping a moving vehicle. Based on my specialized training,

         experience, and knowledge, even if the officer is successful in incapacitating the driver,

         there is no guarantee that the vehicle will always stop its forward momentum16. As a

         result, many departments across the nation have specific policies and procedures

         prohibiting shooting at a moving vehicle because of its unpredictable outcomes and

         inherent dangers.

     5. Upon seeing the pickup truck approaching his direction, Officer Cuevas stated that he

         “had his flashlight in his hand shining at the truck, commanding to stop…”. The

         flashlight was in the strobe mode as it was shining on the truck. Based on Officer

         Cuevas’ testimony that his flashlight was in strobe mode, the intermittent shining of the

         bright light at the approaching pickup truck may have impaired Mr. Parker’s visibility.

         Based on my specialized training, experience, and knowledge, this is a tactic sometimes

         used by law enforcement when approaching an individual on foot to shine the light on

         their face, which can help conceal the officer by limiting the other person’s ability to see

         your approach. However, if done to a motorist during the hours of darkness, it more

         likely than not may impact the driver’s ability to see. Based on my experience, this tactic

         can be dangerous because it could impair a motorist’s sight, especially at night.

     6. The Gulfport Police Department's policy on shooting at or from a moving vehicle is, in

         my professional opinion, vague and limited in providing direction to its officers. As

         written, in regard to shooting at a moving vehicle, the policy states in part:

                  6. Use of Deadly Force - Restrictions

16
  This is especially true when the approaching vehicle is traveling at a significant speed. The vehicle more likely
than not will continue its forward momentum until it comes to rest against an immoveable object or runs out of
forward momentum.


                                                         14
                                                  Exhibit
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                     A. Deadly force may not be used under the following circumstances:
                         5). At a moving vehicle that does not present a deadly force situation.

         As written, with regards to shooting at a moving vehicle, the provided language is vague

         and does not follow national best practices where officers are discouraged from shooting

         at a moving vehicle when the only threat comes from the moving vehicle. National best

         practice calls for officers who find themselves in the path of a moving vehicle to first

         consider moving out of the oncoming vehicle’s path. The Gulfport Police Department’s

         use of force policy makes no mention for officers to consider moving out of the

         oncoming vehicle’s path, especially when the threat is solely from the moving vehicle.

         The policy also makes no mention of the officer’s tactics leading up to these types of

         situations and how they should avoid placing themselves in the path of an on-coming

         vehicle. Based on my specialized training, experience, and knowledge of police practices,

         shooting at a moving vehicle is rarely effective at stopping the vehicle’s forward

         momentum. Additionally, the rounds fired at the moving vehicle may, at times, ricochet,

         making the bullet's path unpredictable and a danger to those in the area. Based on Officer

         Cuevas’ statement, he was walking in the middle of the road, in a southwesterly

         direction, as he walked toward the pickup truck, expecting that it would stop so that he

         could speak with the driver 17. This decision by Officer Cuevas raises many concerns for

         me about his tactical decisions and thought process. I find it tactically unsound for him to

         purposely walk toward an approaching pickup truck during the hours of darkness and on

         a darkened roadway, only to soon after perceiving that same pickup truck was now a

         threat. What changed that caused Officer Cuevas to now think the pickup truck was a


17 This according to Officer Cuevas’ deposition statement pg. 78, lines 8-15.




                                                         15
                                                  Exhibit
                                                  Exhibit "23"
                                                           "A"
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         threat? When did the pickup truck become a threat to Officer Cuevas after reportedly

         intentionally choosing to walk in the pickup truck’s direction18? The investigation notes

         conflicting statements from the eyewitnesses who refute Officer Cuevas’ recollection that

         the pickup truck accelerated. It has been my experience that in some similar situations,

         officers at times may become so hyper-focused on stopping a moving vehicle that they

         place themselves in its path, believing the driver of the vehicle will stop19. It has been my

         experience that officers have done so despite the obvious dangers and against sound

         tactical judgment and safe deployment. It is further my opinion that reverence for life, as

         listed in many of today’s police use of deadly force policies, should mandate that deadly

         force be considered a true last resort. During his deposition Officer Cuevas stated that the

         driver of the pick-up truck (Mr. Parker) backed into the mailbox of another residence as

         he backed out of the driveway and failed to stop20. During his deposition statement,

         Officer Cuevas cited this action as his reason for stopping Mr. Parker. However, while

         Officer Cuevas acknowledged seeing Mr. Parker’s pickup truck “back into a mailbox”

         during his initial interview following the shooting, Officer Cuevas never mentioned this

         as his reasoning for stopping the pickup truck. This alleged backing into the mailbox

         occurred in front of the radio call location at 210 25th Street Gulfport, where the person

         requesting the police response was more likely than not still waiting to speak with Officer



18
   According to Officer Cuevas' deposition statement, he heard the “vehicle accelerate.” However, this was
contradicted by all of the witnesses who reported seeing the vehicle traveling at approximately 2-5 miles per hour or
stopping before hearing the shots being fired.
19
   It is important to note that Officer Cuevas initially only knew of a disorderly partygoer as the reason for his
response. This is an important fact that, in my specialized training, knowledge and experience, should help an officer
develop his tactical approach based on the fact that no weapons or violent crimes have been alleged.
20
   Officer Cuevas later alleged that the reason for stopping the pick-up truck was after it committed a misdemeanor
crime of attempting to leave the scene of an accident. However, this was not mentioned during his initial statement
just days after the incident to the Mississippi Highway Patrol Investigators.


                                                         16
                                                  Exhibit
                                                  Exhibit "23"
                                                           "A"
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         Cuevas. Upon having been dispatched to a radio call location at the residence, Officer

         Cuevas did not have any information linking the black pickup truck with a crime. Based

         on my specialized training, experience, skills, and background, I find that it went against

         industry standards for Officer Cuevas to shift his attention to a slow-moving pickup truck

         that allegedly backed into a mailbox without first speaking with the person(s) calling for

         police assistance21. It is my opinion that without additional information from the

         partygoers and/or the person requesting police services, it was not consistent with my

         specialized understanding of police practices to decide to stop the pick-up truck at that

         moment in time. Officer Cuevas had other viable options at his disposal to stop the

         pickup truck that did not involve him standing in the pickup’s path on a darkened

         roadway during the hours of darkness. One option was to broadcast over the police radio

         the description of the pickup truck and its direction of travel for other officers in the area

         to stop the pickup22. The other option was for Officer Cuevas to reenter his police

         vehicle, follow the truck, and initiate a traffic stop using all of the tools at his disposal23.

         I question how Officer Cuevas, after only approximately 30 seconds on the scene and

         without any additional information, was able to determine that he needed to stop the

         black pickup truck before making contact with the person(s) who called for the police and

         assessed their emergency needs. This, in my opinion, was tactically unsound, especially


21 Additionally, Officer Cuevas had no information of crime committed either inside the residence or by anyone in

the black pickup truck. Officer Cuevas was not even sure, at the time, if the black pickup truck was even involved in
the original radio call. Had Officer Cuevas witnessed a violent crime committed by the occupants of the black
pickup truck, then I could understand shifting his focus on its occupants, however, that was not the case.
22
   Officer Cuevas had no information at the time of the use of force of any crimes committed by anyone in the
pickup truck that required him to prevent it from driving away. I believe that Officer Cueva’s decision to position
himself in front of the approaching pickup truck was deficient.
23
   The police vehicle allows the officer to use the vehicle’s emergency lights to initiate the traffic stop and broadcast,
over his police radio, his location and also run the vehicle tags in order to identify any wants or crimes associated
with the vehicle.


                                                           17
                                                   Exhibit
                                                   Exhibit "23"
                                                            "A"
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     on foot and alone in the dark. I also believe that allegedly bumping into the mailbox

     (which is a non-emergency property crime) would not ordinarily take priority over the

     radio call of a disorderly person at a residential party.

  7. According to the investigative report, Officer Cuevas was at the scene approximately 30

     seconds before the officer-involved shooting occurred. According to his deposition

     statement, Officer Cuevas stated that he used deadly force to stop a vehicle traveling at

     approximately 2-5 mph because it failed to stop after bumping into a mailbox and that he

     feared for his life as it allegedly continued to approach. I find his rational and resulting

     actions disproportionate and unnecessary. As previously mentioned above, Officer

     Cuevas purposely walked toward the approaching slow-moving pickup truck, thinking he

     was going to talk with the driver. Based on my specialized training, experience, skills,

     and knowledge, Officer Cuevas should not have made a decision to allow a pickup truck

     to approach on the roadway during the hours of darkness. Especially without any

     information as to the pickup truck driver’s intent or purpose. To allow this pickup truck

     to approach you and possibly engage you in a conversation (as stated by Officer Cuevas)

     tells me, based on his actions, that he did not perceive that pickup truck as a threat.

     Additionally, we know that according to the witness's statements, the speed of the pickup

     truck never increased. On the contrary, the witnesses stated the pickup truck came to a

     stop just prior to the shooting, Therefore, based on his own statements and his described

     actions, and the totality of the situation, I am left with serious questions as to whether




                                               18
                                         Exhibit
                                         Exhibit "23"
                                                  "A"
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         Officer Cuevas was, in fact, fearful of the pickup truck as it slowly rolled toward him24.

         After reviewing all of the investigative documents, I am left with serious questions

         regarding any identified facts that could have led Officer Cuevas to reasonably believe

         the pickup truck was a sudden threat. Based on my review of the aforementioned

         investigative materials provided and the totality of the situation, I find Officer Cuevas’

         use of deadly force not proportional to the alleged crime of fleeing a traffic accident25. It

         is further my opinion that Officer Cuevas’ belief that a pickup truck moving at 2-5 miles

         per hour was capable of causing serious bodily injury or death was disproportionate. In

         my opinion, an officer in a similar situation should not consider this a life-threatening

         situation and should not use deadly force, given the pickup truck’s slow speed. Officer

         Cuevas has never been questioned about his belief that a slow-moving vehicle (2-5 miles

         per hour or stopped) could pose a life-threatening situation. Additionally, the

         investigation never identified the possible distance between Officer Cuevas and the slow-

         moving vehicle. Experience has shown that the time and distance between Officer

         Cuevas and the pickup truck when he elected to fire should have been identified in order

         to make a more informed determination as to the appropriateness of his actions. For

         example, a vehicle traveling at a high rate of speed toward an officer will reach the

         officer in a much shorter time (than a slow-moving vehicle at the same distance), thus

         limiting the officer’s reactionary time26. As opposed to a slow-moving vehicle (at the

         same distance away) that would take longer to reach the officer (because of the slower


24
   Since witnesses’ statements indicate that the vehicle was traveling at a slow speed and/or possibly stopped before
the shooting, I cannot help but wonder what, if anything, caused Officer Cuevas to believe the pickup truck became
a threat suddenly.
25 We do not know if Mr. Parker ever knew of this alleged bumping of the mailbox.
26
   Leaving little to no reactionary time to evade the oncoming threat.


                                                         19
                                                  Exhibit
                                                  Exhibit "23"
                                                           "A"
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         speeds), thus allowing more reactionary time before it approaches and ultimately makes

         contact27. There was no attempt to assess or analyze Officer Cuevas’ actions based on his

         available time and distance to the approaching pick-up truck especially given its slow

         speed. According to the scene diagram, there did not appear to be anything obstructing

         Officer Cuevas from moving out of the roadway and onto safety on the front yards of the

         local residences. Additionally, and as previously stated, based on the eyewitnesses’

         statements, the pickup truck was moving very slowly (2-5 miles per hour) if it was

         moving at all28. The investigation was not able to determine why; according to Officer

         Cuevas, the pickup truck inexplicably stopped immediately following the shooting29.

         However, according to Officer Cuevas, the vehicle came to a sudden and unexplained

         stop following the shooting. I am uneasy by Officer Cuevas’ statement that the vehicle

         stopped as though it was placed in “park” immediately following the shooting without

         any follow-up or explanation as to how this would be possible. This is yet another

         example of the very important questions that remain unanswered following the

         investigation.

     8. According to the Investigative Narrative (20-002246), it states that “the vehicle

         accelerated east on 25th street...” However, this is refuted by the eyewitnesses who were

         out front of the residence and saw the pickup truck pull out of the driveway. According to

         the eyewitnesses, the pickup truck was traveling very slow (2-5 mph), or it had stopped

         altogether just prior to the shooting. This discrepancy of whether the pickup truck ever


27
   The investigation made no efforts to identify the distance and possible reactionary time Officer Cuevas had when
deciding to use deadly force.
28 During their deposition statements, the eyewitnesses stated the pickup truck had stopped just prior to the shooting.
29 This according to Officer Cuevas who stated the vehicle stopped as though it had been put into park. However,

the vehicle was allegedly not in park and was still in drive, this is allegedly according to investigators.


                                                          20
                                                  Exhibit
                                                  Exhibit "23"
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     accelerated was never resolved, and no evidence was provided to prove or refute the

     eyewitnesses’ or Officer Cuevas’ statements.

  9. The investigation report went on to state that the “vehicle came to a stop, and the officer

     gave first aid to the driver until AMR arrived.” This is disputed by Officer Cuevas’ own

     statement. According to Officer Cuevas, after he fired his rounds, he tried to help Mr.

     Parker out of his vehicle when his legs gave way, and Mr. Parker fell out of the truck face

     down. Officer Cuevas then radioed for medical assistance then walked to the back of the

     truck to get the vehicle tags. Officer Cuevas then returned to Mr. Parker and handcuffed

     him, and rolled him on his back. Officer Cuevas was then escorted away from the scene

     by Sergeant Krauss. At no time does Officer Cuevas advise that he gave Mr. Parker “first

     aid” until the arrival of AMR, as listed in the report. This discrepancy was never clarified

     or addressed.

                                               Opinion:

  10. This was a very rapidly unfolding situation that, in my specialized training, skills,

     experience, and knowledge, should not have escalated into a deadly force situation. I

     believe an officer should not have walked onto the path of oncoming traffic and would

     have taken steps to first move out of the oncoming slow-moving pickup truck’s path

     rather than escalating to deadly force. Officer Cuevas made a decision to fire three rounds

     at the driver of what eyewitnesses described as a slow-moving or fully stopped vehicle

     just prior to Officer Cuevas’ firing his weapon. According to the investigative report, this

     incident took about 30 seconds from the time Officer Cuevas arrived on the scene to

     when he broadcast shots fired over his police radio. At the time, Officer Cuevas had not

     spoken with anyone at the location and had no knowledge of any serious crimes


                                               21
                                         Exhibit
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         committed by anyone or a reason for ordering the pickup truck to stop and/or prevent the

         driver from leaving30. This, in my professional opinion, makes his actions leading up to

         and during the use of force inconsistent with industry standards regarding police

         practices. An officer conforming with industry standards would not have placed

         themselves in the path of oncoming traffic and should have opted to move out of the way

         of the slow-moving vehicle rather than shoot and kill the driver who allegedly bumped a

         mailbox. In short, Officer Cuevas stated he used deadly force to stop an approaching

         slow-moving pickup truck (which he had voluntarily approached) because it had just

         backed into a mailbox and, in his opinion, failed to stop31. The decision-making process

         and resulting actions of Officer Cuevas in discharging his weapon at Mr. Parker, in my

         opinion, were tactically unsound and disproportional.

    11. It is my understanding that additional materials may be in the process of being produced

         or may be requested later. Should any subsequent information be produced and materially

         affect or alter any of these opinions, I will either submit a supplemental response or be

         prepared to discuss them during any scheduled deposition.

    12. At this point in the development of this case, I plan to possibly use the aforementioned

         reviewed and listed documents as demonstrative aids during my testimony. Should I

         decide to use any such tools, I will ensure that they are made available for review, if

         requested, before their use.




30 It was not until 2023 during his deposition that Officer Cuevas stated that he allegedly stopped the pickup truck

for the alleged backing into the mailbox.
31 According to the eyewitnesses, the slow-moving pickup truck came to a stop prior to Officer Cuevas shooting at

and killing Mr. Parker.


                                                          22
                                                  Exhibit
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  1. My fees are as follows:

     Retainer-Non-Refundable- $5,000.00 (must be paid before commencement of any work)
     Document review/preparation/report completion- $350.00 per hour
     Deposition - Flat fee of $2,500.00 per day, paid before the date of deposition.
     Trial Testimony - Flat fee of $2,500.00 per day paid before the date of deposition.
     Air Travel, lodging, and transportation (if necessary) to and from the airport, trial, or
     scene locations shall be paid for by the client separate from the retainer.

     I declare under penalty of perjury under the laws of the state of Mississippi that the
     foregoing is true and correct. Executed in Flagler County, Palm Coast, Florida, on the 30th
     day of June 2023.

                                   _______________________________
                                   Jeronimo “Jerry” Rodriguez




                                             23
                                       Exhibit
                                       Exhibit "23"
                                                "A"
